               Case 2:13-cr-00033-TLN Document 9 Filed 01/23/13 Page 1 of 3


 1   DENNIS S. WAKS, BAR #142581
     Attorney at Law
 2   455 Capitol Mall, Suite 350
     Sacramento, California 95814
 3   Telephone: (916) 498-9871
 4   Attorney for Defendant
     KATHLEEN WADE
 5

 6                      IN THE UNITED STATES DISTRICT COURT
 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,     )            Mag. 12-343-CKD
                                   )
10                  Plaintiff,     )            STIPULATION AND ORDER TO
                                   )            EXTEND TIME FOR PRELIMINARY
11        v.                       )            HEARING AND EXCLUDE TIME
                                   )
12   KATHLEEN WADE,                )            Date: February 13, 2013
                                   )            Time: 2:00 p.m.
13                  Defendant.     )            Judge: Kendall J. Newman
     _____________________________ )
14

15        Plaintiff, United States of America, by and through
16   Assistant United States Attorney, MICHELLE RODRIGUEZ, and
17   Defendant KATHLEEN WADE, individually and by her counsel of
18   record, DENNIS S. WAKS, Supervising Assistant Federal Defender,
19   hereby stipulate to continue the Preliminary Hearing set for
20   January 24, 2013, to February 13, 2013, at 2:00 p.m.
21        The parties agree that the time beginning from the date of
22   this stipulation extending through February 13, 2013, should be
23   excluded from the calculation of time under the Speedy Trial Act.
24   Further, the Defendant consents to an extension of the time for a
25   Preliminary Hearing until February 13, 2013, Fed. R. Crim. P.
26   5.1(d).     The parties submit that the ends of justice are served
27   by the Court excluding such time, so that they may have
28   reasonable time necessary for effective preparation, taking into

                                            1
              Case 2:13-cr-00033-TLN Document 9 Filed 01/23/13 Page 2 of 3


 1   account the exercise of due diligence.         18 U.S.C. §
 2   3161(h)(7)(B)(iv).      In particular, the time is required so that
 3   the parties can continue to conduct investigation and discuss a
 4   proposed disposition.      The defendant consents to this
 5   continuance.
 6        The parties stipulate that this interest of justice
 7   outweighs the interest of the public and the defendant in a
 8   speedy trial, 18 U.S.C. §§ 3161(b) and (h)(7)(A), and further
 9   that this good cause outweighs the public’s interest in the
10   prompt disposition of criminal cases.         Fed. R. Crim. P. 5.1(d).
11   Dated:   January 23, 2013           Respectfully submitted,
12

13                                      /s/ Dennis S. Waks
                                        _______________________
14                                      DENNIS S. WAKS
                                        Attorney at Law
15                                      Attorney for Defendant
                                        KATHLEEN WADE
16

17   Dated:    January 23, 2013         BENJAMIN B. WAGNER
                                        United States Attorney
18
                                         /s/ Dennis S. Waks for
19
                                        MICHELLE RODRIGUEZ
20                                      Assistant U.S. Attorney
21

22

23                                      ORDER
24        The Court has read and considered the Stipulation for
25   Extension of Time for Preliminary Hearing pursuant to Rule 5.1(d)
26   and Exclusion of Time, filed by the parties in this matter on
27   January 23, 2013.      The Court hereby finds that the Stipulation,
28   which this Court incorporates by reference into this Order,

                                           2
                Case 2:13-cr-00033-TLN Document 9 Filed 01/23/13 Page 3 of 3


 1   demonstrates good cause for an extension of time             for the
 2   Preliminary Hearing date, pursuant to Rule 5.1(d) of the Federal
 3   Rules of Criminal Procedure.
 4         Furthermore, for the reasons set forth in the parties’
 5   stipulation, the Court finds that the interests of justice served
 6   by granting this continuance outweigh the best interests of the
 7   public and defendant in a speedy trial.            18 U.S.C.§3161(h)(7)(A).
 8   The Court further finds that the extension of time would not
 9   adversely effect the public’s interest in the prompt disposition
10   of criminal cases.
11         THEREFORE, FOR GOOD CAUSE SHOWN:
12         1.    The date of the Preliminary Hearing is extended to
13   February 13, 2013, at 2:00 p.m. before Magistrate Judge Kendall
14   J. Newman.
15         2.    This time between January 24, 2013 and February
16   13, 2013, shall be excluded from calculation pursuant to 18
17   U.S.C. §3161(h)(7)(A) and Federal Rule of Criminal Procedure
18   5.1(d).
19         3.    The defendant shall appear at the date and time before
20   the Magistrate Judge on duty.
21   IT IS SO ORDERED.
22   DATED: January 23, 2013.
23

24

25

26   dad1.crim
     wade0343.stipord.cont.prelim.wpd
27

28

                                             3
